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FORM 7
UNITED STATES COURT OF INTERNATIONAL TRADE

 

Ohka America, Inc.
Plaintiff,
V. Court No. 03-00790
United States of America, :

Defendant.

 

NOTICE OF DISMISSAL
PLEASE TAKE NOTICE that plaintiff, pursuant to Rule 41(a)(1)(A)(i) of the Rules of
the United States Court of International Trade, hereby dismisses this action.

Dated: April 12, 2021 /s/ George R. Tuttle, Sr.
George R. Tuttle, Sr.
Attorney for Ohka America Inc.
Law Offices of George R. Tuttle,
A Professional Corporation
3950 Civic Center Drive
Suite 310
San Rafael, CA 94903
Main Telephone: (415) 986-8780
Email: george.tuttle.sr@tuttlelaw.com

ORDER OF DISMISSAL

This action, having been voluntarily noticed for dismissal by plaintiff, is dismissed.

Dated: Clerk, U. S. Court of International Trade

By:

 

Deputy Clerk

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CERTIFICATE OF SERVICE

I, Pamela Collins, state that I am an employee of the Law Offices of
George R. Tuttle, A P.C., with offices located at 3950 Civic Center Drive, Suite
310, San Rafael, California, 94903, and that on April 12, 2021, I served on
behalf of plaintiff herein, the within:

Notice of Dismissal

Ohka America Inc. v. United States
Court No. 03-00790

on the below listed party, in said action or proceedings, through the Court’s

electronic service under Rule 5(b)(2)(F) as follows:

Edward Kenny, Esq.
Trial Attorney
Office of the Assistant Attorney General
Department of Justice

Commercial Litigation Branch

International Field Office
26 Federal Plaza - Room 346

New York, New York 10278

Executed on April 12, 2021, San Rafael, California.

Pamela Collins

{0155820.DOC;1} Certificate of Service
